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                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


     Baby Doe, et al.,

                    Plaintiffs,
                                                                Civil Action No. 3:22-cv-49
     v.

     JOSHUA MAST et al.,

                    Defendants,
     and

     UNITED STATES SECRETARY OF STATE
     ANTONY BLINKEN et al.,

                  Nominal Defendants.


      UNOPPOSED MOTION TO EXTEND NOMINAL FEDERAL DEFENDANTS’
            DEADLINE TO RESPOND TO AMENDED COMPLAINT

           Nominal defendants United States Secretary of State Antony Blinken and United

    States Secretary of Defense General Lloyd Austin (“Federal Defendants”) hereby request

    a nine-day extension of time within which to file a response to Plaintiffs’ Amended

    Complaint [ECF 68]. Undersigned counsel for Federal Defendants has conferred with

    counsel for Plaintiffs, who indicates that Plaintiffs do not oppose this request. Good cause

    exists for the requested extension, as set forth below:

           Plaintiffs filed a Complaint in this action on September 2, 2022, naming five

    individuals as defendants (“Individual Defendants”) and naming Federal Defendants as

    nominal defendants. See Compl. [ECF 1]. Plaintiffs sought monetary and declaratory relief

    from Individual Defendants but indicated that they sought no relief from Federal

    Defendants in this action. Id. ¶ 17. Under Fed. R. Civ. P. 12(a)(2), Federal Defendants’
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    response to the Complaint was due November 7, 2022. Before that date, Individual

    Defendants each moved to dismiss the claims against them. Plaintiffs then filed an

    Amended Complaint on October 28, 2022. Am. Compl. [ECF 68.] In the Amended

    Complaint, Plaintiffs continue to seek no relief from Federal Defendants in this case. Id.

    ¶ 17. Pursuant to Fed. R. Civ. P. 15(a)(3), Federal Defendants’ deadline to respond to the

    Amended Complaint is November 14, 2022.

            Due to competing obligations of undersigned counsel in other cases, Federal

    Defendants seek additional time to prepare a response in this case. Among other

    obligations, undersigned counsel attended out-of-town hearings on September 9, October

    4, 20, and 28, 2022; had a preliminary injunction hearing on September 26, 2022; had

    filings due in two different sealed cases on November 4, 2022, and November 8, 2022; and

    must attend another out-of-town hearing in one of those cases on November 11, 2022.

    Federal Defendants therefore seek a nine-day extension, up to and including November 23,

    2022, to file their response. Counsel for Plaintiffs does not oppose this request.

           Accordingly, Federal Defendants respectfully request that the deadline for

    Defendants to file a response to Plaintiffs’ Amended Complaint be extended up to and

    including November 23, 2022.

    November 9, 2022                              Respectfully submitted,

                                                  BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney General

                                                  ALEXANDER K. HAAS
                                                  Director, Federal Programs Branch

                                                  ANTHONY J. COPPOLINO
                                                  Deputy Director, Federal Programs Branch

                                                  /s/ Kathryn L. Wyer

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